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            EXHIBIT B
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                                     :
  STATE OF NEW JERSEY, et al.                        :
                                                     :
              Plaintiffs,
                                                     :
     v.                                              :
                                                     :
  DONALD J. TRUMP, et al.                            :
                                                     :
              Defendants.                            :
                                                     :
                                                          Civil Action No.: ___________
                                                                            25-cv-10139
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                            DECLARATION OF KATHLEEN EHLING

          I, Kathleen Ehling, hereby declare:

1. I am the Assistant Commissioner for the Division of Educational Services within the New

   Jersey Department of Education (“NJDOE”), a position I have held since 2021. As Assistant

   Commissioner, I oversee the Offices of Special Education, including the Special Education

   Medicaid Initiative (“SEMI”) program, Supplemental Educational Programs, Fiscal and Data

   Services, Student Support Services, Performance Management and the Marie H. Katzenbach

   School for the Deaf. I am also responsible for overseeing implementation of the federal

   Every Student Succeeds Act, the federal Individuals with Disabilities Education Act

   (“IDEA”), the New Jersey Tiered Systems of Support, and the development and release of

   the annual School Performance Reports. Prior to holding this position, I served in various

   positions throughout my 20-year tenure with NJDOE including as the Director of the Office

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   of Fiscal and Data Services in which I oversaw the administration of over $4 billion in

   federal and state grant funds for NJDOE. Prior to this role, I served as the Manager of the

   Bureau of Governance and Fiscal Support, Office of Special Education Policy and Procedure

   within NJDOE. In this capacity, I oversaw the implementation of administrative policy for

   the office, including development of regulations, model individualized education programs

   (“IEPs”), and the Parental Rights in Special Education booklet. I also oversaw the dispute

   resolution system, the complaint investigation process, the approval and monitoring of

   approved private schools for students with disabilities and clinics and agencies, the SEMI

   program, and the IDEA Part B grant process. Prior to assuming the role of Manager, I

   worked as a Special Assistant to the Director of the Office of Special Education Programs, a

   Complaint Investigator, and a Mediator with the Office of Special Education.

2. As Assistant Commissioner, I have personal knowledge of the matters set forth below, or I

   have knowledge of the matters below based on my review of information, information

   provided by other state agencies, including the New Jersey Department of the Treasury, and

   information gathered by my staff.

3. I am providing this declaration to explain certain impacts on the State of New Jersey and its

   local education agencies of an executive order entitled “Protecting the Meaning and Value of

   American Citizenship” issued on January 20, 2025 (the “Executive Order”). The Executive

   Order revokes birthright citizenship for children born after February 19, 2025, to (i) a mother

   who is unlawfully present or who is lawfully present in the United States but on a temporary

   basis, and (ii) a father who is neither a citizen nor a lawful permanent resident.

                              New Jersey Department of Education




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4. NJDOE’s mission is to support schools, educators, and districts to ensure all of New Jersey’s

   1.4 million public school students have equitable access to high quality education and

   achieve academic excellence.

5. Pursuant to Plyler v. Doe, 457 U.S. 202 (1982), local education agencies (“LEAs”) within the

   State serve all school-age children, regardless of their immigration status. An LEA is a public

   authority legally constituted by the State as an administrative agency to provide control of

   and direction for kindergarten through grade 12 public educational institutions.

6. Within NJDOE, the Division of Finance and Business Services administers federal and state

   funds to LEAs to support crucial education initiatives and provide essential services to

   students.

                                Special Education Medicaid Initiative

7. School-based health services (“SBHS”) refer broadly to medical services provided to all

   students in a school setting, such as on-site school nurses, behavioral health counselors, and

   preventative health screenings for visual and auditory acuity.

8. All New Jersey LEAs are required to provide certain SBHS free of charge to all students,

   regardless of their immigration or insurance status.

9. In State Fiscal Year 2024, $2,466,759,247 of State funds were provided to LEAs for special

   education services. This is the total amount for special education categorical aid,

   extraordinary aid for special education costs, and the estimated portion of equalization aid

   that is calculated for special education costs.

10. Since 1988, Section 1903(c) of the Social Security Act has authorized the federal Medicaid

   program to reimburse LEAs for medically necessary SBHS provided to Medicaid-eligible

   students with disabilities (“special education SBHS”) pursuant to the IDEA, 20 U.S.C. §



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   1400 et seq., provided the services were delineated in the student’s individualized education

   program (“IEP”) (or similar plan) and covered in the State plan for Medicaid. IDEA requires

   LEAs to develop an IEP for children found eligible for special education and related services.

   An IEP identifies certain special education and related services, and program modifications

   and supports, that the LEA will provide a child with a disability.

11. Currently, New Jersey’s State plan for Medicaid provides coverage for certain special

   education SBHS, such as occupational or speech therapy, that are specified in a student’s

   IEP.

12. The Medicaid reimbursement program for special education SBHS in New Jersey is called

   the Special Education Medicaid Initiative (“SEMI”), which is jointly operated by NJDOE

   and New Jersey’s Departments of Human Services and Treasury.

13. New Jersey has contracted with a vendor for administrative support in managing SEMI and

   matching reimbursement claims to Medicaid-eligible students.

14. Approximately 408 LEAs in New Jersey were required under State law to participate in

   SEMI in State Fiscal year 2025 because they had more than 40 Medicaid-eligible classified

   students. LEAs with 40 or fewer Medicaid-eligible classified students may request a waiver

   from the executive county superintendent not to participate in SEMI. Approximately 185

   such LEAs did not seek a waiver and therefore participated in SEMI in State Fiscal year

   2025.

15. Under SEMI, over the course of a school year, LEAs receive interim reimbursement

   payments through a fee-for-service process for costs associated with providing special

   education SBHS to Medicaid-eligible students.




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16. The federal reimbursement funds are split between the State Treasury and LEAs. In State

   Fiscal Year 2024, the federal government paid 50% of the costs submitted for interim

   reimbursement for special education SBHS. The State retained 65% of the federal

   reimbursement and passed on 35% of the federal reimbursement to the relevant LEA.

17. At the end of the fiscal year, New Jersey engages in a cost settlement process to verify that

   LEAs are accurately reimbursed for the costs of providing SBHS by comparing interim

   reimbursements with reported annual expenditures.

18. In State Fiscal Year 2024, New Jersey LEAs submitted interim fee-for-service

   reimbursement claims to the federal government for claims valued at $220,734,493, of which

   federal Medicaid reimbursed 50%, or $110,367,246.60. The State retained 65% of the federal

   reimbursement, a total of $71,755,196.95, and passed on the remaining 35%, a total of

   $38,612,049, to the LEAs. These sums reflect the pre-cost settlement interim dollar amount,

   as the cost settlement process has not been completed.

19. To be eligible for a partially federally-funded Medicaid program, a student must be a U.S.

   citizen, a “qualified non-citizen,” or “lawfully present.”

       a. Qualified non-citizens include lawful permanent residents, asylees, refugees, and

           trafficking victims, among others.

       b. Individuals who are lawfully present include those with humanitarian statuses (such

           Temporary Protected Status and Special Immigrant Juvenile Status) as well as asylum

           applicants, among others.

       c. Children who are neither “qualified non-citizens” nor “lawfully present” are

           commonly referred to as undocumented.




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20. Thus, undocumented children are not eligible for partially federally-funded Medicaid. LEAs

   are still required to provide special education SBHS to undocumented children, but cannot

   receive federal reimbursement dollars for those services.

21. In 2024, New Jersey’s SEMI vendor identified approximately 88,000 students with

   disabilities who were enrolled in partially federally-funded Medicaid in New Jersey.

22. Because of the Executive Order, students with disabilities who are born in the United States

   to two undocumented parents, or whose birthright citizenship will otherwise be revoked by

   the Executive Order, will lose eligibility for federally-funded Medicaid for which they

   otherwise would have qualified. LEAs will thus not receive any SEMI reimbursement funds

   for provision of SBHS to those students, increasing the State’s net costs.

23. The Executive Order will also increase the population of undocumented children, some

   percentage of whom will very likely have disabilities that require SBHS and would be

   eligible for partially federally-funded Medicaid but for their immigration status. The costs of

   providing those services will be borne by the State and LEAs without any federal Medicaid

   reimbursement.

   I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

   Executed this 21st day of January, 2025, in Trenton, New Jersey.




                                                     ____________________________________
                                                     Kathleen Ehling, Assistant Commissioner
                                                     Division of Educational Services, New
                                                     Jersey Department of Education



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